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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                           UNITED STATES DISTRICT COURT                              May 10, 2024
                            SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                                HOUSTON DIVISION

RODNEY UNDERWOOD,                             §
                                              §
        Plaintiff,                            §
VS.                                           §   CIVIL ACTION NO. 4:23-CV-4405
                                              §
COMMUNITY LOAN SERVICING, LLC,                §
                                              §
        Defendant.                            §
                                              §

                                    FINAL JUDGMENT

       Plaintiff Rodney Underwood brought this suit against Defendant Community Loan

Servicing, LLC in Texas state court, and Defendant then removed it to this Court. ECF No. 1.

Defendant moved to dismiss. ECF No. 24. At a hearing on May 07, 2024, the Court granted

Defendant’s Motion to Dismiss and dismissed the claims with prejudice.

       Pursuant to Federal Rule of Civil Procedure 58(a), and for the reasons set forth at the

hearing, final judgment is hereby ENTERED for Defendant.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas on this the 10th day of May, 2024.




                                                  _______________________________
                                                  KEITH P. ELLISON
                                                  UNITED STATES DISTRICT JUDGE
